        Case 1:23-cv-00358-JRR           Document 53        Filed 04/21/23       Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                BALTIMORE DIVISION

JASON ALFORD, et al.,

                   Plaintiffs,

       v.                                             Case No. 1:23-cv-00358-JRR

THE NFL PLAYER DISABILITY &
SURVIVOR BENEFIT PLAN, et al.,

                   Defendants.


              DEFENDANTS’ JOINT RULE 12(b)(6) MOTION TO DISMISS

       Defendants the NFL Player Disability & Survivor Benefit Plan, the NFL Player

Disability & Neurocognitive Benefit Plan, the Bert Bell/Pete Rozelle NFL Player Retirement

Plan, the Disability Board of the NFL Player Disability & Neurocognitive Benefit Plan, Dennis

Curran, Jacob Frank, Belinda Lerner, Sam McCullum, Robert Smith, Jeff Van Note, and Roger

Goodell hereby move to dismiss the class action complaint filed by Plaintiffs Jason Alford,

Daniel Loper, Willis McGahee, Michael McKenzie, Jamize Olawale, Alex Parsons, Eric Smith,

Charles Sims, Joey Thomas, and Lance Zeno on behalf of themselves and all others similarly

situated (the “Complaint”). For the reasons stated in the accompanying Memorandum in Support

of Defendants’ Joint Rule 12(b)(6) Motion to Dismiss, the Complaint should be dismissed in its

entirety and with prejudice because Plaintiffs fail to state a claim for any violation of the

Employee Retirement Income Security Act (“ERISA”).

       WHEREFORE, Defendants respectfully request dismissal of the Complaint.
      Case 1:23-cv-00358-JRR        Document 53       Filed 04/21/23     Page 2 of 3



Date: April 21, 2023                           Respectfully submitted,

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       Case 1:23-cv-00358-JRR          Document 53           Filed 04/21/23   Page 3 of 3



                                CERTIFICATE OF SERVICE

       I, Gregory F. Jacob, hereby certify that on April 21, 2023, I caused a copy of the

foregoing document to be served upon all counsel of record via the CM/ECF system for the

United States District Court for the District of Maryland.



                                                     s/ Gregory F. Jacob
                                                     Gregory F. Jacob
